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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                            Chapter 7

    PROJECT VERTE INC.,                                               Case No. 23-10101-LSS
                                                                      Related D.N.:
                              Debtor.

                          ORDER DIRECTING TURNOVER OF PROPERTY

             Upon consideration of the motion of Alfred T. Giuliano (the “Trustee”),1 the Chapter 7

trustee for the estate of Project Verte Inc. (the “Debtor”), for entry of an order authorizing and

directing the Receiver to turnover and deliver to the Trustee the Debtor’s property, including the

Tech Proceeds, pursuant to 11 U.S.C. §§ 105, 541, 542, and 543 (the “Motion”); and the Court

having considered the Motion and determined that (i) it has jurisdiction over the matters raised in

the Motion pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2); (iii) the relief requested in the Motion is in the best interests of the Debtor, its

estate and creditors; (iv) proper and adequate notice of the Motion and the hearing thereon has

been given and no other or further notice is necessary; and (v) upon the record herein, after due

deliberation thereon, good and sufficient cause appearing therefore,

             THE COURT FINDS AND CONCLUDES, based on the information set forth in the

Motion:

             A.     The Court has jurisdiction over these cases pursuant to 28 U.S.C. § 1334(b).

             B.     Due and adequate notice of the Motion has been given to all parties entitled thereto,

and no other further notice is necessary or required.




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    Capitalized terms not defined herein shall have the meaning ascribed to such term in the Motion



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        C.       A reasonable opportunity to object or to be heard regarding the relief requested in

the Motion has been afforded to all interested persons and entities.

        D.       The Tech Proceeds are property of the Debtor’s estate pursuant to 11 U.S.C. § 541.

        E.       Turnover of the Tech Proceeds is appropriate pursuant to 11 U.S.C. §§ 542 and/or

543.

        THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

        1.       The Motion is GRANTED as set forth herein.

        2.       The Receiver is hereby authorized and directed to turnover the Debtor’s property,

including, but not limited to, the Tech Proceeds, to the Trustee within seven (7) days from entry

of this Order.

        3.       Notwithstanding anything herein to the contrary, nothing in this Order shall affect

or modify the terms of any order of this Court (or documents related thereto) entered during this

case.

        4.       The Court shall retain jurisdiction over any matter arising from, and/or related to,

this Order or the relief granted herein.




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